Case 2:05-cr-20309-.]PI\/| Document3 Filed 08/17/05 Page 1 of2 F”:a?e|D 5- _

 

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lN THE UN|TED STATES DlSTRlCT COURT "» ‘
FOR THE WESTERN DlSTRlCT OF TENNESSEE _, 7 ___A:UG l 7 2805
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cR.No. 05~2050' 9 MIAI|

UN|TED STATES OF AMERICA,

)

Flaintiff, §

vs. §
GERALD DAVENPORT, ' §
Defendants. §

 

ORDER SEAL|NG lNDlCTMENT

 

Upon motion of the United States and for good cause shown, the indictment against

the above-named Defendant is hereby ordered sealed until further order of the Court.

§Mn- JLL_

UN!TED STATES MAG|STRATE JUDGE

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.:;-.3:;:er‘»ent entered on the docket Sheet ln comp!ianoa 5
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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20309 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DlSTRlCT COURT

